FORM DEFMEMO

                             UNITED STATES BANKRUPTCY COURT
                                       District of Arizona

 NOTICE TO FILER OF ERRORS AND/OR DEFICIENCIES IN ELECTRONICALLY FILED
                              DOCUMENTS

CASE NAME: Arlene Silver and Ronald J Silver
CASE NUMBER/ADVERSARY NUMBER: 2:17−bk−07624−SHG
DOCKET NUMBER: 110,134
DOCUMENT FILING DATE: 9/5/2018
DOCUMENT TITLE: Application / Notice of Lodging Order

TO:                               Kyle Kinney

Pursuant to the Local Rules of Bankruptcy Procedure and/or the Federal Rules of Bankruptcy Procedure, one of the
following errors/deficiencies has been found with your electronically filed document:

        Document was filed in the wrong case, the caption and/or case number does not match the caption and/or
        case number of the case in which the document was filed. The docket entry has been marked ENTERED IN
        ERROR. You must re−file the correct document in the correct case.

        Document was filed in correct case, but the document filed was captioned with an incorrect case number or
        no case number. The document should be re−filed with the correct case number. Further action on the motion
        may not be taken by the court until the document is re−filed with the correct case number. If re−filing the
        document will cause you to incur a second filing fee, please call the ECF help line at 602−682−4900
        immediately after the re−filing, before making any payment with your credit card, to have the second fee
        reversed.

        Document filed is incomplete. The document is either missing pages, pages are incomplete or all exhibits
        referred to are not attached. If the document contains incomplete pages or is missing pages, the entire
        document must be re−filed. Any missing exhibits can be filed separately with a cover pleading, Notice of
        Filing Omitted Exhibits, and relating it to the original filing.

        The document was filed using an incorrect entry. The document filed incurred a filing fee and the appropriate
        entry showing a fee due was not used. An order to pay the filing fee will be entered.

        When the case was opened, you failed to input the debtor(s) social security number. A Statement of Social
        Security Number that contains the debtor(s) full SSN must now be filed with the court on paper (DO NOT
        e−file) or the case may be dismissed.

        Notice that reopened case may be re−closed. This case was reopened for further proceedings and 90 or more
        days have passed without the reopening party having filed a document to initiate the further proceedings or
        the reopening party has filed a pleading or other document but has taken no further action to have the matter
        determined by the court. The reopened case will be re−closed unless the reopening party files an appropriate
        document or takes further action within 30 days of the date of this notice.

        OTHER: **A Notice of Mailing the Application is not on the docket. A Certificate of No Objection must
        also be filed. This order has been placed on HOLD. Thank you.**

Date: September 5, 2018

Address of the Bankruptcy Clerk's Office:                 Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                         George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000                          By: Alicia J, Deputy Clerk
www.azb.uscourts.gov                                      Phone: 520−202−7904
